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       In The United States Court of Federal Claims
                                             No. 10-886C

                                        (Filed: April 20, 2012)
                                              __________
 JOHN BALESTRIERI,

                         Plaintiff,

         v.

 THE UNITED STATES,

                         Defendant.
                                              _________

                                              ORDER
                                              _________

        On March 26, 2012, the parties submitted a joint status report, in which they indicated their
intent to file cross-motions for summary judgment. Accordingly, the court hereby adopts the
following schedule:

       1.       On or before May 18, 2012, plaintiff shall file his motion for summary
                judgment;

       2.       On or before June 15, 2012, defendant shall file its opposition to plaintiff’s
                motion and its cross-motion for summary judgment;

       3.       On or before July 13, 2012, plaintiff shall file his reply in support of his
                motion and his opposition to defendant’s cross-motion; and

       4.       On or before July 27, 2012, defendant shall file its reply in support of its
                cross-motion.

       IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
